      Case 4:22-cv-03340         Document 36       Filed on 12/28/23 in TXSD        Page 1 of 26




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

PETER BARBARA and JOHN DREW,                      §
                                                  §
          Plaintiffs,                             §
                                                  §
V.                                                §
                                                  §        CIVIL ACTION NO. 4:22-CV-03340
 MCGRIFF INSURANCE SERVICES,                      §
 INC.,                                            §
                                                  §
          Defendant.                              §
                   PLAINTIFF JOHN DREW'S PROPOSED PRETMAL ORDER

         Plaintiff John Drew files this Proposed Pretrial Order and respectfully shows the Court the

following:

                                 INTRODUCTORY STATEMENT

         On December 27, 2023, counsel for the parties conferred about various aspects of the Pretrial


Order; however, counsel for Plaintiff was out of the state on vacation with family and was unable to


complete Plaintiffs portions of the Order. Therefore, counsel agreed to confer again on December


28, 2023, to discuss stipulated facts and agreed proposals. As a result of that conference. Plaintiff


submits this Proposed Pretrial Order, which includes all agreed assertions of fact and law to date,


Plaintiffs issues of fact and law, and the other portions of Defendant's Proposed Pretrial Order filed


on December 27, 2023 [Doc. 33].


1. Appearance of Counsel


         PLAINTIFF

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                                                   1
4863-9768-8217.1
      Case 4:22-cv-03340         Document 36     Filed on 12/28/23 in TXSD        Page 2 of 26




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         DEFENDANT

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2. Statement of the Case


         PLAINTIFF

This is an age discrimination lawsuit pertaining to a Loan Bonus Program that 81-year-old Plaintiff
John Drew ("Drew") has been excluded from for more than fifteen years. Because Mr. Drew's
exclusion from the Program has been because of his age, he filed this lawsuit against Defendant
McGriff Insurance Services, Inc. ("McGriff) pursuant to both the Age Discrimination in
Employment Act of 1967 (the "ADEA") and the Texas Labor Code.

         DEFENDANT

In this employment dispute. Plaintiff John Drew ("Drew") has sued McGriff Insurance Services,
LLC ("McGriff) for age discrimination under both the Age Discrimination in Employment Act of
1967 ("ADEA") and the Texas Labor Code based upon its 2008 decision not to award Drew a
discretionary forgivable loan as part of a producer compensation program that McGriff rolled out in
2008.


3. Jurisdiction


The Court has jurisdiction over this lawsuit pursuant to 28 U.S.C. §§ 1331 and 1332, as well as 29
U.S.C. § 1367. The parties agree the Court has jurisdiction over this matter.


4. Motions Pending


a. Defendant's Motion for Leave to File Amended Answer [Doc. 13]




4863-9768-8217.1
     Case 4:22-cv-03340         Document 36       Filed on 12/28/23 in TXSD          Page 3 of 26




b. Defendant's Motion for Summary Judgment [Doc. 29]


5. Contentions of the Parties


         PLAINTIFF

Mr. Drew has been cut out of the Loan Bonus Program because of his age. McGriffs own corporate
representative, Doug Hodo, who was designated to testify regarding any and all reasons for the
exclusion of Mr. Drew from the Program, stated as follows:


         Q. Do you know of any reason other than age that Mr. Drew was not included in the


         program?


         A. I do not.


Mr. Hodo went on to testify that (1) he and his supervisor Tommy Ebner - the CEO for McGriff
Texas - both thought Drew should have been made part of the program, (2) he knows of no one better
qualified than Drew to be in the program, (3) Drew is indisputably better qualified for inclusion based
on his book of business than many others who are younger but have nevertheless been made part of
the program, and (4) he knows of nothing that disqualifies Drew from participation. Instead, Mr.
Hodo shared that when Mr. Ebner asked ]\4cGriffs Chairman and CEO Bruce Dunbar why Drew
wasn't included, Mr. Dunbar responded that Drew was too old, and the program was designed to
retain the younger producers.


McGriff nevertheless contends Mr. Drew's claims must be dismissed because they are untimely,
despite the fact he tried for more than eight years to get to the bottom of why he was not included in
the program and was met with a mix of lies and unresponsiveness and, ultimately, a token payment
designed to ward him off and have him believe that was all he would ever receive. But McGriffs
shell game of responses to Drew's inquiries about his exclusion estops it from relying on limitations.
In addition, equitable tolling and the Lilly Ledbetter Fair Pay Act of 2009 save Drew from any claims
that his charge of discrimination was not timely. Furthermore, unbeknownst to Mr. Drew until very
recently, McGriffdid not merely provide loans to Producers a single time. Rather, it has issued loans
eveiy year since the advent of the program. And Mr. Hodo testified he knows of nothing that would
have precluded Drew from being eligible to participate in the program every year since 2008 up to,
and including, 2023. Mr. Hodo also conceded that eveiy time Drew hasn't been added to the program,
there are people younger than him who have been, and eveiy time that has happened Drew has made
less money than those participants as a result.


Because M.r. Drew was plainly discriminated against because of his age, and that discrimination was
willful on the part of McGriff, he is entitled to his lost wages, liquidated damages, and reasonable
attorneys' fees.




4863-9768-8217.1
     Case 4:22-cv-03340         Document 36        Filed on 12/28/23 in TXSD         Page 4 of 26




         DEFENDANT

McGriff denies that it discriminated against Drew based upon his age (or otherwise) in violation of
the ADEA or the Texas Labor Code when it declined to award him a discretionary forgivable loan
as part of and under a compensation program that McGriff announced in February 2008.


Drew joined McGriff in 2002. He was then 60 years old. At the time of hire, Drew negotiated a
very lucrative compensation package that far exceeded the normal amounts McGriff paid to other
Producers. This was one of the reasons McGriff declined to award Drew a discretionary forgivable
loan, and had nothing to do with his age.


Drew's annual salary was also far higher than similarly-situated Producers because typically, when
more than one Producer services an account, McGriff allocates dollar credits for that work between
or among the participating Producers, such that the percentage amounts of the allocation totals
100%. However, beginning in 2005—and continuing to this day—although other Producers work
on accounts that Drew may have originated, he still receives full credit {i.e., 100%) on each such
account. Drew's salary is then calculated based upon this full (100%) allocation. As a result, from
2005 to the present, McGriffhas paid Drew an additional $1.4 million in salary, above what his
salary would have otherwise been without this 100% allocation. No other Producer has such an
arrangement, and Drew would never have been eligible for and received both a forgivable loan, and
this full credit resulting in his enhanced salaiy. The amounts Drew would have received if he had
received only a forgivable loan would have been far less than the $ 1.4 million that McGriffhas paid
to Drew from 2005 to present. Drew's special compensation arrangement regarding co-
sold/managed accounts, which had been in place for several years as of 2008, was an additional
reason McGriff declined to also award Drew a discretionary forgivable loan based upon the size
of his book of business, and was unrelated to his age.


McGriff announced the discretionary forgivable loan program in 2008, as part of a larger enhanced
compensation program. Drew was clearly aware of this larger program, specifically including the
forgivable loan program in 2008, as he used it to recruit and retain other Producers when he headed
McGriffs Dallas office. Drew also knew in 2008 that he had not been selected to receive a
forgivable loan, and had complained about that fact to his superiors starting in 2008 and each year
after for the next several years. Drew also obviously knew his own age. And yet, Drew waited and
did not file a charge of discrimination until 2021, some fifteen years later. Drew's charge and suit
are therefore both untimely and his claims are barred as a result for this additional reason.


Finally, the Ledbetter amendment to the ADEA does not save Drew's age discrimination claims from
being untimely. At most, even if Drew's charge were timely filed based on the Ledbetter amendment,
he suffered no actionable damages during the charge-filing period, i.e., 180 days prior to the date he
filed the charge, because all of his damages accrued, if at all, in 2008. The Texas Labor Code does
not incorporate the Ledbetter amendment to the ADEA, whether expressly or by incorporation, and
his state law claims are not "saved" from being untimely.




4863-9768-8217.1
     Case 4:22-cv-03340         Document 36        Filed on 12/28/23 in TXSD        Page 5 of 26




6. Admissions of Fact


a. Drew joined McGriff in 2002 as a Producer.


b. Drew was 60 years old at the time.


c. For seven years, Drew headed McGriffs Dallas office.


d. In 2008, IVlcGriff formally announced a new compensation program for Producers.


e. The compensation Program included a discretionary forgivable loan component under which, if
     a Producer's "Book" of business reached a minimum amount of $1,000,000, the Producer was
     eligible to receive a discretionary forgivable loan of $200,000.


f. The forgivable loan component of the Program was discretionary, and neither Drew nor any
     other Producer had an entitlement to a loan simply by virtue of the size of the Producer's "Book."


g. McGriff did not select Drew to participate in the forgivable loan program when it was announced
     in 2008, and each year thereafter.


h. In 2016, McGriff made Drew a $50,000 forgivable loan, repayable over five years, which
     amount was forgiven by 2021 .


i. Aside from the $50,000 forgivable loan Drew received in 2016, he has not otherwise received
     any forgivable loans, including under the Program.


j. Drew is currently employed by McGriff as a producer.


k. Drew's current annual salary is approximately $425,000.


1. No McGriff employee made any age animus statements or remarks to Drew about his age.


m. Drew jointly filed his only charge of discrimination with the EEOC and Texas Workforce
     Commission on September 14, 2021, regarding his non-participation in the forgivable loan
     program.


7. Contested Issues of Fact


         PLAINTIFF

a. John Drew is 81 years old. He has been in the commercial insurance business for five decades.


b. In 2002, Drew was a Producer in Dallas for a company called Marsh. At that time, he was
      approached by McGriff about coming to work for them. After several months of discussions and
      negotiations, Drew signed an offer letter and employment agreement and began working for
      McGriffon August 2, 2002. Neither the offer letter nor employment agreement preclude Drew

                                                   5
4863-9768-8217.1
      Case 4:22-cv-03340              Document 36           Filed on 12/28/23 in TXSD                Page 6 of 26




     from participating in any payment programs at McGriff. His title was Senior Vice President and
     he reported directly to Executive Vice President Doug Hodo, whose supervisor was Tommy
     Ebner, CEO of McGriff Texas. Mr. Ebner reported to McGriffs Chairman, Bruce Dunbar.


c. In 2004, Drew became the head of the Dallas office. In that role, he supervised approximately
     eight Producers and a staff of 65 to 70 employees. He had the largest book of business in the
     Dallas office and the twelfth largest book in the entire company. By 2008, the book had grown
     to $2,764,332.15.


d. Drew has never had any disciplinary issues or demonstrated any poor citizenship at McGriff. He
     and Peter Barbara (one of the two initial Plaintiffs in this lawsuit who has settled his claims with
     McGriff) were the two oldest Producers at the Company.


e. On February 2, 2008, McGriffs Chairman, Brace Dunbar, issued a Memorandum regarding
     "Producer Retention" to eight members of the Company's leadership team, including the heads
     of its offices in Atlanta, Birmingham and Houston. Notably, Drew was not a recipient of the
     memo — even though he was the head of the Dallas Office — and did not see it until this litigation.
     The memorandum stated at page one:


                   As you are aware, we are ready to communicate our Producer Retention
                   program to all producers. I am very pleased with the various incentives we
                   have been able to include and the overall magnitude our producer compensation
                   package. In order to clearly communicate the appropriate message to all
                   parties, I wanted to summarize the key talking points of this package and a
                    general discussion of the tools we have available.


f. The document then identified five retention compensation programs - Annual Earn-Out Bonus,
      Out of Park Bonus, Restricted Stock Grants, Forgivable Producer Loans and Book Equity. As
     to Forgivable Producer Loans, page two of the memorandum said:


                   This is a key component of the program .... We have over $21 million in
                   available loan money. We made the first loans in December 2007 and the
                   balance will be made available over the next few months. Each loan is
                   forgivable over a 10-year period. Which cannot be shortened.1 The size of the
                   production book determines the eligibility for a producer loan. At $1 million, a
                   producer is eligible for a $200,000 loan. At each increase of $500,00 in book
                   size, the producer is eligible for an additional $100K loan. As an example, a
                   producer with a $3.2 million book is eligible for a loan of up to $600K. When
                   his book exceeds $3.5 million, he is eligible for an additional $100K loan.

g. Two months later, on April 24, 2008, Mr. Dunbar sent a letter to Drew. The first paragraph
      stated:



1 Despite the reference to the ten-year period not being shortened, it actually has been in several instances. Due to
competitors offering shorter periods, and changes in tax laws, the period has been reduced to as little as four years.




4863-9768-8217.1
     Case 4:22-cv-03340             Document 36       Filed on 12/28/23 in TXSD        Page 7 of 26




                   We appreciate and value your contribution to McGriff, Seibels & Williams, Inc.
                   Accordingly, we have prepared this outline of traditional and retention
                   compensation along with the attached exhibit to communicate and illustrate the
                   various types and amounts of rewards, which the company makes available to
                   you.


h. The letter then falsely stated that McGriffs "retention compensation" was composed of only
     four cash compensation and stock grants and options: Earn Out Bonus, Out of Park Bonus,
     Restricted Stock and Book Equity. Remarkably, the letter made no mention of the Forgivable
     Producer Loans which are the subject of this lawsuit.


i. Later in 2008, Drew became aware of the existence of the Forgivable Producer Loan Program
     (the "Program"). Drew only knew a Program existed but did not know how it operated. He
     called McGriffs CFO, Tom Lambert, and asked why he hadn't been included. Lambert falsely
     assured Drew that his participation "would come along later." It didn't, so Drew continued,
     over and over again, to inquire about his exclusion.


j. In 2009, at a conference at the Marriott hotel in Point Clear, Alabama, Drew pulled Bruce
     Dunbar aside and asked him why he hadn't received anything from the Program. Similar to
     Lambert, Dunbar provided a false front and told Drew he had a better deal because Drew was
     going to receive Book Equity for five years once he retired. But that was not true, as Book
     Equity was apparently provided to all producers, including several who were put in the Program.


k. When another year or two passed and nothing happened, Drew talked with Tommy Ebner about
     being included in the Program. When that went nowhere, Drew tried getting some relief from
     Doug Hodo. Hodo was sympathetic and told Drew, "it wasn't right," because he should be in
     the Program. He assured Drew he would do what he could about the situation. But the half-
     dozen or so conversations Drew had with Hodo over the course of the next four to five years
      still didn't move the needle. Mr. Hodo's response each time they spoke was that he simply
      couldn't get anything done.


1. So, Drew reached out to Mr. Ebner again in 2012 and they met in the Dallas office. Mr. Ebner
      said he would look into things. Again, Drew heard nothing, so he called Mr. Ebner later that
     year but received no response to his phone message. In 2015, Drew actually flew down to
     Houston to see Mr. Ebner about the Program. Mr. Ebner told Drew that his participation in the
      Program was something he and Mr. Dunbar had actually talked about a lot but Drew's inclusion
      in Book Equity, rather than inclusion in the Program was what "we think is best for you. But
      that, too, was false, because Book Equity participation and Program participation were clearly
      not mutually exclusive.


m. During the time period of 2012-2015, Mr. Hodo asked Mr. Ebner to go directly to Mr. Dunbar
      (who actually made all the decisions of who was included in the Program) and ask why Drew
      had been excluded. Ebner did so, and Dunbar's response was, "Drew and [former Plaintiff] Pete
      Barbara didn't get in because they were too old, and this was a retention program to keep the
      young producers." Despite knowing of these comments by Dunbar and believing Drew was

                                                       7
4863-9768-8217.1
     Case 4:22-cv-03340              Document 36        Filed on 12/28/23 in TXSD         Page 8 of 26




     treated unfairly with respect to the Program, Mr. Hodo never reported them to Drew and Drew
     only learned of them during this litigation. When asked why he didn't tell Drew or Barbara
     what Mr. Dunbar had said, Mr. Hodo responded, "Not sure." When asked if he was fearful he
     would be retaliated against by Mr. Dunbar, Mr. Hodo responded, "Not sure."


n. Nevertheless, Mr. Drew's 2015 meeting with Mr. Ebner apparently did finally spur him into
     action. On December 18, 2015, Mr. Ebner sent an e-mail to CFO Tom Lambert with a subject
     line of "John Drew." The e-mail stated:


                   John is following up on the meeting we (he and I) had in the summer about not
                   getting a loan like the others, still in the game supporting company, having great
                   years in new etc. You and I discussed about what we might be able to do as a
                   one off and deferred discussion etc. John has followed up today and I just told
                   him it was "on the list." Please put this on your Christmas/year end list as well.
                   Thanks.


o. Five days later, Lambert responded by e-mail, apparently admitting Drew should have been
     made part of the program all along. The e-mail said:


                   [w]e can give him some cash from the Great Performers bonus pool (say 25%
                   to 50% of the amount of any loans he missed) in 2016 or we can give him a loan
                   during the next cycle. Perhaps we can do for him what we did for Bob Verdin
                   ... 50% of the qualifying loan amount to be forgiven over 5 years or 1/3 of the
                   qualifying loan amount to be forgiven over 3 years.


p. Out of the blue, on April 18, 2016, Lambert sent Drew an e-mail regarding his participation in
     the Program. It stated, "Congratulations on being selected to receive a producer retention loan!
     I have attached the loan document for your review and execution." The e-mail was accompanied
     by a Promissory Note in which Drew was provided a loan of only $50,000, which would be paid
      in five $10,000 annual installments through May 1, 2021, and was forgivable if he did not
     voluntarily terminate his employment or his employment was not terminated by McGriff for
      "Cause" during those five years.


q. Doug Hodo, who had been pushing for Drew's full participation in the Program, was
      disappointed by the meager payment of $50,000, particularly given Drew's production and all
     his contributions to M'cGriff. He contacted Drew and told him he was "embarrassed" the
      Company paid him only $50,000. Mr. Hodo added that he was "sorry," he had tried his best,
      $50,000 was all Drew was ever going to get out of the Program, and at least $50,000 was "better
      than nothing." When asked in his deposition if he believed Drew was paid the $50,000 in 2016
      in order to keep him quiet and not have to deal with him anymore, Hodo responded, "Not sure."


r. Faced with the certainty there was nothing else he could do, the die had been cast on his Program
      participation, and $50,000 was all he was ever going to get, Drew ceased any further efforts to
      be included in the Program. From that point on, it wasn't until this litigation that McGriff
      provided him any visibility into whether any other Producers were receiving anything from the
      Program.



4863-9768-8217.1
      Case 4:22-cv-03340           Document 36      Filed on 12/28/23 in TXSD       Page 9 of 26




s. On September 14, 2021, former Plaintiff Peter and Barbara and Drew dual-filed their Charges
     of Discrimination with the Equal Employment Opportunity Commission and Texas Workforce
     Commission - Civil Rights Division. In response to the Charges, McGriff submitted two
     Position Statements in or about September 2021. The Statements were very telling. Most
     notably, they did not deny Dunbar said he chose to exclude Barbara and Drew because they
     were "too old," and the Program was meant for retention of "the young guys." Respondent's
     Position Statement simply ignored the fact those statements were made. Moreover, the Position
     Statements provided a host of explanations for Barbara and Drew's exclusion that were
     completely at odds with explanations McGriff had previously submitted. For instance, Ulmer
     had told Barbara the Program was created to "attract employees to join our organization" and
     added that "[w]hen new compensation vehicles are put in place for new employees, we can't
     renegotiate employment compensation with existing hires." Yet, in the Position Statements,
     McGriff turned that explanation on its head, instead stating:


                   McGriffs Producer Loan Program ("Program") was created in or about 2008.
                   The Program was put in place to retain McGriff Producers with more than a
                   [sic] one million dollars in their books of business.


t. Thus, according to McGriffin April 2021, the Program was a recruitment vehicle; however, as
     of September 2021, their stoiy had become that it was a retention tool. M^cGriffhas contradicted
     its reason on numerous occasions. Those reasons are all false and pretext for age discrimination.


u. McGriff contends, apparently based on Drew's initial Interrogatory Responses, that he is seeking
      damages only for being excluded from the Program in 2008. However, those responses were
     based on Drew's belief at that time that a person could receive only one Forgivable Producer
      Loan. However, since that time, he has learned — as the record indisputably shows — that
      McGriff provided many people multiple Forgivable Producer Loans. Particularly given the
     testimony of Doug Hodo that he knows of nothing that precluded Drew from being eligible to
     participate in the Program as recently as 2023, he now realizes his previous Inten-ogatory
      Responses were incorrect and has supplemented those responses.


v. Doug Hodo testified that the Program did not require an increase to the next threshold to receive
      another loan under the Program. Mr. Hodo also testified he knows of nothing that would have
      precluded Drew from being eligible to participate in the Program in every year in which loans
      have been issued, including 2008,2009, 2014,2016,2018,2019,2020,2021 and 2023. McGriff
      produced hundreds of Promissory Notes in discoveiy related to participation in the Program. Of
      the 117 participants identified in the Promissory Notes, 80 received numerous loans under the
      Program. And of the 37 who did not, eight only joined the Program in 2023, so they haven't yet
      had the opportunity to be granted multiple loans.


 w. Additionally, a chart produced by McGriff shows that an increase in book of business is not
      required for an additional loan. For example, the chart shows that Marc Boots' book of business
      in 2008 only grew by $263,334, but he was still listed as eligible for a $400,000 loan under the
      Program.




4863-9768-8217.1
     Case 4:22-cv-03340        Document 36        Filed on 12/28/23 in TXSD          Page 10 of 26




x. Further, even assuming IVIcGriffs argument that Drew's eligibility to receive a loan after 2008
     without hitting a new threshold "depends entirely on whether he received [a loan] in 2008 or
     not" is true, the evidence shows Drew would not have had to amass $500,000 more in business
     to remain eligible for the loan. The chart demonstrates that Marc Boots (as well as numerous
     other Program participants), without increasing his book of business by $500,000, was eligible
     for an additional loan amount of $100,000. This contradicts McGriffs proposition that "a loan
     of $100,000 can only have been an incremental loan for hitting a new threshold." Therefore,
     based on McGriffs own argument, Drew remained eligible for the entire $500,000 loan he was
     entitled to in 2008 eveiy year he was passed up, resulting in the type of repeated discriminatory
     compensation decisions which are prohibited by Lilly Ledbetter Act. See Niwayama v. Tex.
     Tech Univ., 590 Fed. Appx. 351, 356 (5th Cir. 2014) ("discrimination in compensation" means
     "paying different wages or providing different benefits to similarly situated employees . . . .").


y. Even assuming the Program did require an increase in book of business. Drew was eligible for
     a loan throughout 2013-2022. His book of business ranged from $1.46 million in 2013 to $3.025
     million in 2020. Therefore, he would have been eligible for a loan pursuant to the Program in
     2021, which would place his Charge within 1 80 days ofMcGriffs discriminatory compensation.

z. Furthermore, even if it were assumed that Drew was not eligible for an additional loan in 2021,
     Drew was given a $50,000 loan that was to be paid in five $10,000 installments through May 1,
     2021. Those installments were approximately 1/10 of what he should have received, and other
     younger Producers did receive, pursuant to the Program formula. Therefore, even if Drew was
     not eligible to receive a loan without an increase in his book of business (he was) or he did not
     have an increase in his book of business making him eligible (he did). Drew was subjected to
     age discrimination through at least May 2021 by way of this $50,000 loan, which is within 180
     days of September 2021, when he filed his EEOC/TWC Charge of Discrimination.

aa. To this day, Drew remains employed by McGriff as an Executive Vice President and Producer.


bb. Any propositions of law identified by Plaintiff that the Court concludes are more accurately
      considered propositions of fact.


     DEFENDANT

a. Whether Drew can prove by a preponderance of the evidence that, but for his age, McGriff
      would have selected Drew to participate in the forgivable loan program.

b. Whether Drew can prove by a preponderance of the evidence that his age was a motivating factor
      in McGriffs decision regarding whether to select him to participate in the forgivable loan
      program.


c. Whether Drew received compensation from McGriff above and beyond what it paid and pays to
      other Producers.


d. Whether McGriffs decision not to award Drew a forgivable loan under the Program was based
      on the compensation package Drew negotiated at the outset of his employment in 2002.


                                                   10
4863-9768-8217.1
    Case 4:22-cv-03340            Document 36         Filed on 12/28/23 in TXSD             Page 11 of 26




e. Whether McGriffs decision not to award Drew a forgivable loan under the Program was based
     on the unique compensation structure implemented in 2005 whereby he continued to receive
     100% credit for new business on certain accounts despite the fact that other Producers (a) had
     begun working on those accounts and (b) despite Drew's 100% credit, each still received the
     credit they would have received in the ordinary course.

f. Whether Drew was aware of the forgivable loan program in 2008.

g. Whether in 2008, Drew was also aware of that McGriff had not selected him to receive a
     forgivable loan in 2008.

h. Whether between 2008 and 2015, Drew complained regularly that he had not been selected to
     receive a forgivable loan.

i. Whether Drew would have been eligible to receive a forgivable loan after 2008, based upon the
     size of his annual book of business.

j. Whether Drew would have been eligible to receive a forgivable loan based upon the size of his
     book of business in addition to the other amounts that McGriffpaid Drew, such as his enhanced
     annual salary.


k. If Drew were eligible to receive a forgivable loan in 2008, whether he would have ever been
     eligible to receive any other forgivable loan amounts within 180 days of September 14, 2021.

1. Whether Drew can identify any comparators who were treated more favorably, i.e. whether he
      can show that McGriffhas paid another Producer the amounts that it paid to Drew in enhanced
      salaiy and given them forgivable loans under the Program.

m. If Drew is able to prove that he is entitled to a forgivable loan, what would the loan amount be,
      if any, and loan terms be?

n. Whether Drew timely filed a charge of discrimination.

o. If his charge of discrimination was timely filed, whether Drew suffered any actionable damages
      during the period of time for filing the charge (;'. e., 180 days prior to filing).

p. Whether Drew's claims are barred by his failure to timely exhaust his administrative remedies.

q. Wliether Drew's claims are barred by the applicable statute(s) of limitations.

r. Whether Drew's claims are barred by the doctrines of laches, unclean hands, after- acquired
      evidence, waiver, and/or estoppel.


s. Whether a Producer's book of business had to grow by another $500,000 for the Producer to be
      eligible of an additional forgivable loan of $100,000.

t. Whether Drew's book of business, as calculated for the purpose of forgivable producer loans,
      ever exceeded $3 million.

                                                      11
4863-9768-8217.1
     Case 4:22-cv-03340         Document 36        Filed on 12/28/23 in TXSD         Page 12 of 26




u. Whether a McGriff employee made any statements or remarks to Drew that he was not selected
     to participate in the forgivable loan program because of his age.

     To the extent any of the above are deemed to be contested issues of law, they are incorporated
     by reference as such.


8. Agreed Propositions of Law


a. The Age Discrimination in Employment Act ("ADEA") makes it unlawful for an employer to
     "fail or refuse to hire or discharge any individual with respect to his compensation, terms,
     conditions, or privileges of employment." 29 U.S.C. § 623(a).


b. A plaintiff proceeding under the ADEA must prove that he was "within the protected class,"
     i.e., age 40 or older; qualified for the position he held; suffered an adverse employment decision;
     and was treated less favorably than similarly situated younger employees." Leal v. McHngh, 731
     F.3d 405, 410-411 (5th Cir. 2015).

c. To prevail on a cause of action for violation of 29 U.S.C. § 623(a)(l), "a plaintiff must prove
     that age was the 'but-for' cause of the employer's adverse action." Harris v. City ofSchertz,
     27 F.4th 1120,1 123 (5th Cir. 2022) (quoting Gross v. FBL Fin. Servs., Inc., 557 U.S. 167,176
      (2009)).

d. Attorneys' fees under the ADEA are only available to a plaintiff who is a "prevailing party."
     Tyler v. Union Co. ofCal., 304 F.3d 379, 404 (5th Cir. 2002).


e. Under the Texas Labor Code (the "Code"), "an employer commits an unlawful employment
     practice if because of race, color, disability, religion, sex, national origin, or age the employer
     . . . discharges an individual, or discriminates in any other manner against an individual in
      connection with compensation or the terms, conditions, or privileges of employment." Tex.
      Lab. Code §21.051.


f. Under the Code, an "unlawful employment practice is established when the complainant
      demonstrates that race, color, sex, national origin, religion, age or disability was a motivating
      factor for an employment practice, even if other factors also motivated the practice[.]" Tex.
      Lab. Code § 21.125(a). "Motivating factor" means that the employee's age was "a reason for
      making the decision at the time it was made." Dallas County Sheriff's Dep't v. Gilley, 114
      S.W.3d 689, 693 (Tex. App.—Dallas 2003, no pet.). See also Price Waterhouse v. Hopkins,
      490 U.S. 228, 250 (1989) (in gender discrimination case, "in saying that gender played a
      motivating part in an employment decision, we mean that, if we asked the employer at the
      moment of the decision what its reasons were and if we received a truthful response, one of
      those reasons would be that the applicant or employee was a woman"),




                                                    12
4863-9768-8217.1
     Case 4:22-cv-03340              Document 36       Filed on 12/28/23 in TXSD        Page 13 of 26




9. Contested Propositions of Law


     PLAINTIFF

a. The Lilly Ledbetter Fair Pay Act amended the ADEA to read, in pertinent part:


                   For purposes of this section, an unlawful practice occurs, with respect to
                   discrimination in compensation in violation of this chapter, when a
                   discriminatory compensation decision or other practice is adopted, when a
                   person becomes subject to a discriminatory compensation decision or other
                   practice, or when a person is affected by application of a discriminatory
                   compensation decision or other practice, including each time wages, benefits, or
                   other compensation is paid, resulting in whole or in part from such a decision or
                   other practice.


                   29 U.S.C.A. § 626(d)(3).

b. Therefore, each time a person is "affected by application of a discriminatory compensation
     decision or other practice" including when "wages, benefits, or other compensation is paid," the
     cause of action renews. See id.


c. The Ledbetter Act does not apply to "discrete acts" such as "termination, failure to promote,
     denial of transfer, and refusal to hire." Niwayama v. Tex. Tech Univ., 590 Fed. Appx. 351, 356
     (5th Cir. 2014). Rather, the "discrimination in compensation" means "paying different wages
     or providing different benefits to similarly situated employees . ..." Id. (quoting Daniels v.
     United Parcel Serv., Inc., 701 F.3d 620, 630-31 (10th Cir. 2012)); see also Noel v. Boeing Co.,
      622 F.3d 266,275 (3d Cir. 2010) (distinguishing between a failure to receive a raise from failing
     to receive a promotion, which is a discrete act.).


d. McGriffs decision to repeatedly exclude Drew from the Program from 2008 through the present
      day is precisely the kind of direct discrimination in compensation that is covered by the
      Ledbetter Act. This is not the case where a discrete act, like failure to promote, termination, or
     refusal to hire, led to lower pay. Rather, IvIcGriff committed discrimination in compensation
      against Drew based upon his age by repeatedly refusing to provide him compensation under the
      Program but providing it to others who were younger but similarly situated (?'. e. those eligible
      under the Program).


e. McGriffs own corporate representative testified he did not know of anything that would have
      precluded Drew from participating in the Program in the same years as Marc Boots, who was a
      younger employee given a loan under the Program in 2008, 2009,2014,2016,20 18,2019, 2020,
      2021, and 2023 . McGriff s corporate representative also testified he did not know of any reason
      why Drew was not included in the Program other than his age and agreed every time Drew was
      not made a part of the Program, other people younger than him were, which, of course, caused
      his compensation to be less than those younger participants. Thus, every time McGriff paid
      these other similarly situated but younger employees pursuant to the Program, but not Drew,
      Drew's discrimination claim renewed.

                                                       13
4863-9768-8217.1
     Case 4:22-cv-03340           Document 36     Filed on 12/28/23 in TXSD             Page 14 of 26




f. The Promissory Note Drew signed in May 2016 for the loan he finally received indicated he
     would be paid in five $10,000.00 installments through May 1, 2021. These installments were
     approximately 1,10th of what he should have received, and other younger Producers did receive,
     pursuant to the Program formula. Therefore, Drew was subjected to age discrimination through
     at least May 2021, which is well within 180 days of September 2021, when he filed his
     EEOC/TWC Charge of Discrimination.

g. There is no language in the ADEA, as amended by the Ledbetter Act, that limits the amount of
     damages that can be sought based upon a "look back" theory. See generally 29 U.S.C.A. § 626.
     Therefore, Drew is not limited to seeking back pay only in the 180 days preceding the filing of
     his charge. See United States v. Clint\\'ood Elkhorn Min. Co., 553 U.S. 1, 11 (2008) (There is a
     "strong presumption that the plain language of the statute expresses congressional intent. . . .")
     (internal quotations omitted); Mehmen v. Collin Cnty., Tex., 558 F. Supp. 2d 711,715 (E.D. Tex.
     2007) ("The plain language of the statute must be the court's North Star."); McMellon v. United
     States, 387 F.3d 329, 339 (4th Cir. 2004) ("The Supreme Court has repeatedly explained that
     the plain language of a statute is the best evidence of Congressional intent.").


h. Equitable tolling and/or equitable estoppel toll any limitations period until 2021.

i. Federal law governs the pleading requirements of this case; therefore, Drew was only required
     to, and did, plead sufficient facts to put McGriffon notice of the reliance on tolling theories.


j. When a case is removed to federal court, federal law governs procedural requirements, including
     pleading requirements. Simpson v. James, 903 F.2d 372, 375 (5th Cir. 1990); Hudnall v. Tex.,
     No. EP-22-CV-36-KC-RFC, 2022 WL 3219423, at *11 (W.D. Tex. Aug. 9, 2022) (noting that
     a federal court hearing state law claims under diversity or supplemental jurisdiction shall apply
     state substantive law and federal procedural law.). Therefore, the pleading requirements for
     both of Drew's claims for age discrimination under the ADEA and Chapter 21 of the Texas
     Labor Code are governed by federal law.


k. Federal law mandates that a plaintiff need only plead sufficient facts to put the defense on notice
      of the reliance on a tolling theoiy. Colonial Penn Ins. Co. v. Mkt. Planners Ins. Agency, Inc., 1
     F.3d 374, 376 (5th Cir. 1993). For example, in Ray v. Lynass, the Western District of Texas
     recently held that the facts pleaded gave sufficient notice of the reliance on the discoveiy rule
      where the plaintiff alleged that the defendant made representations that he had the knowledge,
      skill, and experience to greatly expand plaintiffs business yet failed to do so when he was
      supposed to contact prospective customers but failed to convert any leads. No. 1:21-CV-0020-
      DH, 2023 WL 7238682, at *8 (W.D. Tex. Nov. 2, 2023). Similarly, the Fifth Circuit held
      sufficient facts were alleged to show reliance on the discovery rule and fraudulent concealment
      where the plaintiffs allegations included a statement that the defendant breached its duty as an
      agent as a fiduciary by "failing to disclose all material information with respect to the sale of
      [plaintiffs p]olicies and the premiums arising from those sales, and by failing to account for
      money received by [defendant] on behalf of plaintiff [.]" Colonial Penn Ins. Co., 1 F. 3d at 376,
      378, n.2 (5th Cir. 1993).


                                                   14
4863-9768-8217.1
    Case 4:22-cv-03340          Document 36         Filed on 12/28/23 in TXSD          Page 15 of 26




1. Drew alleged ample facts to put McGriff on notice of his reliance on equitable estoppel and
     equitable tolling. Specifically, the Original Petition alleges that McGriffs provided
     explanations for its refusal to include the Plaintiffs in the Program were "false and, when called
     on those falsifies, [McGriff] simply came up with more inaccurate justifications for the
     employees' wrongful exclusions from the program." See Pet. at ^ 6. Drew again provides notice
      of his reliance on a tolling theory in paragraph 19 by further detailing the erroneous justifications
     provided to him by McGriff for his exclusion in the program. See Pet. at ^ 19. Drew also
      alleges he did not find out about McGriffs justifications being false until 2021, when he and
     Plaintiff Peter Barbara began discussing the Program and inquiring about their exclusion. See
      Pet. at ^ 13, 19. McGriffs corporate representative was asked if he knew of any inaccuracies
     in Paragraph 13 of the Petition. He testified he did not. Therefore, Drew provided sufficient
      evidence to put McGriffon notice of his reliance on equitable estoppel and equitable tolling.


m. Even if Texas state law did apply, Texas does not require defenses to limitations, like the
      discovery rule and other tolling principles, to be pled until a defendant pleads the affirmative
      defense of limitations. See Superior Air Parts, Inc. v. Kubler, No. 3:14-CV-3492-D, 2015 WL
      567223, at * 11 (N.D. Tex. Feb. 11, 2015). McGriff has not pled a defense of limitations in its
     Answer on file. Therefore, if state law applies, Drew does not yet have to plead tolling
     principles.


n. McGriff should be estopped from relying upon a limitations defense due to its continued
      concealment and misrepresentation of facts to lull Drew into failing to timely file a charge of
      discrimination.


o. Filing of a timely charge of discrimination with the EEOC or TWC is not a jurisdictional
      prerequisite to suit. See Hinkley v. Envoy Air, Inc., 968 F.3d 544, 553 (5th Cir. 2020) ("[W]e
      conclude § 21.202's 180-day filing deadline, although mandatory, is not jurisdictional.");
      Granger v. Aaron's, Inc., 636 F.3d 708, 711 (5th Cir. 2011) ("[F]iling a timely charge of
      discrimination with the EEOC is not ajurisdictional prerequisite ...."). As such, like statute of
      limitations, filing a charge of discrimination is subject to waiver, estoppel, equitable tolling or
      the discoveiy rule. Granger, 636 F.3d at 711.


p. Equitable estoppel prevents a defendant from asserting that a discrimination charge was
      untimely as a defense where the defendant concealed facts or misled the plaintiff thereby causing
      the plaintiff to not assert his rights within the limitations period. See Rhodes v. Guiberson Oil
      Tools Div., 927 F.2d 878-79 (5th Cir. 1991); see also Pruet Prod. Co. v. Ayles, 784 F.2d 1275,
      1280 (5th Cir. 1986) ("An employer's misrepresentations or wrongful concealment of facts
      necessary to support a discrimination charge have given rise to estoppel where they prevented
      an employee from asserting his rights timely."). "An essential element of equitable estoppel is
      that the party asserting must have reasonably relied on the statement or the conduct of the party
      sought to be estopped." Tomlinv. Signal Intern., No. 1:11-CV-3,2012 WL 3984517, at *5 (E.D.
      Tex. Aug. 9, 2012).


q. In Rhodes v. Guiberson Oil Tools Div., the 56-year-old plaintiff received notice he was being
      discharged from his job with defendant because of a reduction in work force on October 15,
      1986. Rhodes, 927 F.2d at 877. His last day on the job was October 31, 1986. Id. On or about

                                                     15
4863-9768-8217.1
    Case 4:22-cv-03340         Document 36       Filed on 12/28/23 in TXSD        Page 16 of 26




     December 19, 1986, the plaintiff discovered that four days earlier, defendant had hired a 42-
     year-old to replace him. Id. Plaintiff filed a charge with the EEOC on April 28, 1987, 195 days
     after he received notice of his termination. Id. The Fifth Circuit held that equitable estoppel
     applied as the plaintiff did not learn of his age discrimination claim until he found out he was
     replaced by a younger man as the defendant concealed facts and misled him by stating he was
     being terminated due to a reduction in work force. Id. at 880-82.


r. Here, McGriffhas similarly concealed and misstated facts to lull Drew into not approaching the
     EEOC or TWC sooner. When McGriff communicated the retention tools available to Drew, it
     left out any mention of the Program despite the Program being included in a memorandum
     regarding "Producer Retention" just two months earlier. See Exhibits C and D. When Drew
     tried, over and over again, to get to the bottom of why he had not been put in the Program,
     McGriff responded falsely. First, its CFO indicated participation "would come along later." It
     didn't, so Drew approached the Chairman/CEO and the President for McGriff Texas and was
     told by both of them that he was included in Book Equity, rather than the Program, and that was
     better for him. It wasn't, and the assertion couldn't have possibly been true, as many Producers
     participated in both Book Equity and the Program. McGriffs coiporate representative, Mr.
     Hodo, also confirmed he himself, despite not knowing of any other reason why Drew was
     excluded from the Program other than age, and being told by the CEO of McGriffs Texas
     division that Drew was not included because of his age, never told Drew that he was not included
     in the Program due to his age prior to 2021. Additionally, when Drew was given $50,000.00 in
     2016 - a mere fraction of what he was entitled to under the Program but for his age - he was
     told by Mr. Hodo that $50,000.00 is better than nothing and Drew understood he would never
     receive anything else. Only then did Drew cease to inquire about the program.


s. McGriffs corporate representative testified he was not sure what else Drew could have done to
      act diligently to find out why he was excluded from the Program when the CEO had told him it
     was because he was getting Book Equity.


t. The Promissory Note Drew signed related to the loan indicated he would be paid in five $ 10,000
      installments through May 1, 2021. These installments were approximately 1/10 of what he
      should have received, and other younger Producers did receive, pursuant to the Program
      formula. Therefore, even if the Court chose not to toll limitations, Drew was subjected to age
      discrimination through at least May 2021, which is well within 180 days of September 2021,
      when he filed his EEOC/TWC Charge of Discrimination. Even in the absence of the Lilly
      Ledbetter Act - which brings Drew's Charge within the limitations period - these events
      demonstrate Drew was subjected to discrimination within the requisite charge-filing period.


u. Drew pursued every avenue he could to diligently pursue his rights. As McGriffs corporate
      representative recognized numerous times in his deposition, Drew followed up on multiple
      occasions and exercised diligence and acted reasonably throughout the years in trying to figure
      out why he was not included in the Program. In fact, Mr. Hodo testified he was not sure what
      else Drew could have done to act diligently to find out why he was excluded from the Program.
      Thus, similar to the plaintiff in Rhodes, Drew had no reason to suspect the reason he was not a
      part of the Program was due to his age until he discovered McGriffhad concealed relevant facts
      and was actively misleading him in 2021. Accordingly, McGriff should not be allowed to take

                                                  16
4863-9768-8217.1
    Case 4:22-cv-03340          Document 36         Filed on 12/28/23 in TXSD        Page 17 of 26




     advantage of its misrepresentations and should be estopped from alleging Drew failed to timely
     file his discrimination charge.


v. Even ifMcGriffwas not estopped from asserting a limitations defense, Drew's claims were
     tolled until 2021 under equitable tolling as Drew was unaware of the facts giving rise to his
     claim because ofMcGriffs intentional concealment and misrepresentation of same.


w. Equitable tolling tolls limitations during the plaintiffs excusable ignorance and is committed to
     the sound discretion of the judge. Champlin v. Manpower Inc., No. 4:16-CV-00421, 2018 WL
     572997, at *4 (S.D. Tex. Jan. 24, 2018). For equitable tolling to apply, a plaintiff must show
     "(I) that he has been pursuing his rights diligently, and (2) that some extraordinary circumstance
     stood in his way and prevented timely filing." Id. (quoting Menominee Indian Tribe of Wisconsin
     v. United States, 577 U.S. 250, 255 (2016)).

x. The Fifth Circuit has recognized at least three bases for equitable tolling:


     (1) the pendency of a suit between the same parties in the wrong forum; (2) plaintiffs
     unawareness of the facts giving rise to the claim because of the defendant's intentional
     concealment of them; and (3) the EEOC's misleading the plaintiff about the nature of
     her rights.


    Granger, 636 F.3d at 712.


y. Equitable tolling is to be applied in cases "where purposeful misrepresentations misled a party
      or where a party could not have vindicated its rights even by exercising due diligence." Hull v.
      Emerson Motors/Nidec, 532 Fed. Appx. 586, 588 (5th Cir. 2013). In pleading equitable tolling,
      "[a] plaintiff need not prove intentional misconduct by the employer, but must demonstrate that
      'the defendant's conduct, innocent or not, reasonably induced the plaintiff to not file suit within
      the limitations period.'" Boudreau v. Nokia of Am. Corp., No. 3:19-CV-01623-E, 2020 WL
      7426155, at *5 (N.D. Tex. Dec. 18, 2020) (quoting Tyler v. Union Oil Co. ofCal., 304 F.3d 379,
      391 (5th Cir. 2002)).

z. Texas law similarly tolls limitations pursuant to fraudulent concealment when a plaintiff proves
     "an underlying wrong, and that the defendant actually knew the plaintiff was in fact wronged,
      and concealed that fact to deceive the plaintiff." Gallier v. Woodbury Fin. Services, Inc., 171
      F.Supp.Sd 552, 563 (S.D. Tex. 2016) (internal quotations omitted). Fraudulent concealment is
      fact-specific and "tolls limitations until the fraud is discovered or could have been discovered
      with reasonable diligence." Valdez v. Hollenbeck, 465 S.W.3d 217, 229 (Tex. 2015). Indeed,as
      the Texas Supreme Court noted, "accrual is deferred because a person cannot be permitted to
      avoid liability for his actions by deceitfully concealing wrongdoing until limitations has run."
      S.V. v.R.V., 933 S.W.2d 1, 6(Tex.1996).


aa. This case is riddled with instances of McGriff intentionally misrepresenting the reason for
      denying Drew's participation in the Program. As detailed above, McGriff completely omitted
      the Program in its communications with Drew even though the Program was included in a
      memorandum regarding "Producer Retention" just two months earlier. In addition, Drew was

                                                    17
4863-9768-8217.1
    Case 4:22-cv-03340           Document 36         Filed on 12/28/23 in TXSD          Page 18 of 26




     told multiple times that he was getting a better deal through Book Equity, rather than Program
     participation, when in reality membership in both was not mutually exclusive. The list of
     Program participants is littered with Producers who also received Book Equity. Nor was Drew
     ever told prior to 2021 that he was not included because of his age, despite McGriffs corporate
     representative having known since 2012-2015 that that was the very reason for his exclusion.
     Rather, Drew was told when he received the $50,000.00 loan that that was better than nothing
     and that was all he would ever be eligible for. Additionally, Drew inquired on multiple
     occasions about the refusal to include him in the Program and, as McGriffs corporate
     representative recognized, exercised diligence and acted reasonably throughout the years in
     trying to figure out why he was not included. Based on these events, there is no conceivable
     way Drew could have known of all the facts to support his claim due to McGriffs continuous
     misrepresentations and concealment until he learned in 2021 that McGriff failed to include him
      and Peter Barbara in the Program due to their age. See Boudreau, 2020 WL 7426155, at *5
      (denying motion to dismiss as sufficient facts were alleged regarding equitable tolling where it
     was not until a younger male with less management experience was hired that the plaintiff
      learned of the facts necessary to support her discrimination charge as the former employer
     previously misrepresented to plaintiff that she did not receive the promotion due to her lack of
     management experience.).


bb. Mr. Hodo testified he wouldn't fault Drew for not filing any sort of discrimination claim at the
      time Drew was told he wasn't in the Program because he purportedly got a better deal by way
      of Book Equity.


ec. Federal Rule of Civil Procedure 8(c) requires a defendant to affirmatively plead a limitations
      defense. FED. R. Civ. P. 8(c) ("In responding to a pleading, a party must affirmatively state any
      avoidance or affirmative defense, including ... statute of limitations .. . ."); see also Razo v. State
      Farm Lloyds, No. 7:17-CV-00352, 2017 WL 6209608, at *2 (S.D. Tex. Dec. 8, 2017) ("Rule
      8(c) requires a defendant to affirmatively plead its limitations defense, and thus the general mle
      is that such a failure constitutes waiver of the defense."). Thus, a limitations defense, such as
      the failure to exhaust administrative remedies by not timely filing a charge, "is an affirmative
      defense that should be pleaded." Davis v. Fort Bend Cnty., 893 F.3d 300, 308 (5th Cir. 2018),
      aff'd, 139 S. Ct. 1843 (2019); see also Thomas v. Dallas Indep. Sch. Dist., No. 3:22-CV-2685-
      G-BN, 2023 WL 4687225, at *3 (N.D. Tex. May 31, 2023) (citing same rule for claims that
      included an ADEA claim); Johnson v. San Jacinto Coll., No. 4:20-CV-2948, 2021 WL 40323,
      at *2 (S.D. Tex. Jan. 5, 2021) (Texas law similarly holds that § 21.202 "creates a statute of
      limitations defense to a TCHRA claim when the administrative charge is not filed within 1 80
      days of the act alleged to be an unlawful employment practice."). The Fifth Circuit, however,
      has recognized that failure to raise an affirmative defense under Rule 8(c) in a party's first
      responsive pleading is not fatal if the defense is raised "at a pragmatically sufficient time, and
      [the plaintiff] was not prejudiced in its ability to respond." Allied Chem. Corp. v. Mackay, 695
      F.2d 854, 856 (5th Cir. 1983). "Unfair surprise and prejudice are central concerns underlying
      the requirement that a defendant timely plead affirmative defenses." LSREF2 Baron, L.L.C. v.
      Tauch, 751 F.3d 394, 402 (5th Cir. 2014).

dd. McGriff contends Drew missed his charge-filing deadline. However, McGriff failed to plead
      this defense in any live pleading. It has been more than a year since McGriff filed its Answer

                                                      18
4863-9768-8217.1
     Case 4:22-cv-03340         Document 36         Filed on 12/28/23 in TXSD          Page 19 of 26




     in this case and it has failed to raise any affirmative defenses despite having an opportunity to
     do so prior to removing this case as well as during the 21-day period it was allowed to do so as
     a matter of course under the Federal Rules. FED. R. Civ. P. 81(c).


ee. Drew seeks recovery of reasonable and necessary attorneys' fees and costs pursuant to §
     21.259 of the Texas Labor Code as well as 29 U.S.C. § 216(b).


ff. In assessing the reasonableness of fees sought by Drew in this lawsuit, courts apply the two-step
     method required by the Fifth Circuit. First, the 'lodestar' is determined by multiplying the
     number of hours reasonably spent on the litigation times a reasonable hourly billing rate.
     Watkins v. Fordice, 7 F.3d 453, 457 (5th Cir. 1993). Once the number of reasonable hours is
     established, those hours are "then multiplied by the selected hourly rate to produce the 'lodestar.'"
     Albert! v. Klevenhagen, 896 F.2d 927, 930 (5th Cir. 1990). In determining the reasonable hourly
     rate, courts dictate that "an appropriate hourly rate" must be selected "based on prevailing
     community standards for attorneys of similar experience in similar cases." Blum v. Stenson, 465
     U.S. 886, 896 n. 11, 104 S.Ct. 1541 (1984); Alberti, 896 F.2d at 930. The second step in
     assessing attorneys' fees requires application of various factors identified by courts within the
     Fifth Circuit to determine what amount is warranted. The lodestar may be adjusted up or down
     if relevant factors indicate an adjustment is necessary to reach a reasonable fee in the case. The
     Fifth Circuit has identified twelve factors - often referred to as the Johnson factors - a district
     court should be guided by: (1) the time and labor required; (2) the novelty and difficulty of the
     issues in the case; (3) the skill requisite to perform the legal services properly; (4) the preclusion
     of other employment by the attorney due to acceptance of the case; (5) the customary fee charged
     for those services in the relevant community; (6) whether the fee is fixed or contingent; (7) time
     limitations imposed by the client or the circumstances; (8) the amount involved and the results
     obtained; (9) the experience, reputation, and ability of the attorneys; (10) the undesirability of
     the case; (11) the nature and length of the professional relationship with the client; and (12)
      awards in similar cases. Johnson v. Georgia Highway Express, Inc., 488 F.2d 714, 717-19 (5
      Cir. 1974). Many of the Johnson factors are usually subsumed within the initial calculation of
     hours reasonably expended at a reasonable hourly rate. In fact, the lodestar may not be adjusted
      due to a Johnson factor if the lodestar calculation already took that factor into account. Watkins
     v. Input/Output, Inc., 531 F. Supp. 777, 784 (S.D. Tex. 2007).


gg. Drew is more than 40 years of age.


hh. McGriffhas more than 500 employees.


ii. Drew was qualified to be included in the Program.


jj. Drew suffered an adverse employment action by not being included in the Program.


kk. McGriff employees who are outside the protected age class were treated more favorably than
      Drew by being included in the Program.


11. McGriff intentionally discriminated against Drew.



                                                    19
4863-9768-8217.1
    Case 4:22-cv-03340         Document 36         Filed on 12/28/23 in TXSD         Page 20 of 26




mm. Drew's age was a motivating factor in, and/or but for cause of, McGriffs decision to exclude
     him from the Program.


nn. McGriffs stated reasons for excluding Drew are false and pretext for age discrimination.


00. As a result ofMcGriffs intentional unlawful actions, it violated Chapter 21 of the Texas Labor
      Code and the Age Discrimination in Employment Act when it discriminated against Drew
     because of his age.


pp. As a direct and proximate result of the conduct ofMcGriff, Drew has suffered injury.


qq. For the injuries Drew has suffered, he seeks compensatory and consequential damages.


IT. Because McGriff acted with malice or reckless indifference to Drew's state-protected
     rights, he is also entitled to punitive damages. See Tex. Lab. Code § 21.2585.


ss. Because McGriff acted willfully, Drew is also entitled to liquidated damages. See 29
     U.S.C. § 626(b).

tt. An Employer acts willfully when it "knew or showed reckless disregard' for whether the ADEA
     prohibited its conduct." Hazen Paper Co. v. Biggins, 507 U.S. 604, 615 (1993).


uu. Drew seeks recoveiy of all applicable pre- and post-judgment interest.


vv. Any propositions of fact identified by Plaintiff that the Court concludes are more accurately
      considered propositions of law.


DEFENDANT

a. "The burden of persuasion does not shift to the employer to show that it would have taken the
      actions regardless of age, even where a plaintiff has produced some evidence that age was one
      motivating factor in that decision." Gross, 557 U.S. at 180.


b. The ADEA also provides that "[n]o civil action may be commenced by an individual under this
      section until 60 days after a charge alleging unlawful discrimination has been filed with the
      Equal Employment Opportunity Commission. Such a charge shall be filed (A) within 180 days
      after the alleged unlawful practice occurred; or (B) in a case to which section 633(b) of this
      title applies, within 300 days after the alleged unlawful practice occurred[.]" 29 U.S.C. §
      626(d)(l)(A)-(B).

c. Under the ADEA, "the Fifth Circuit has expressly rejected the notion that a Title VII
      discrimination claim - and its attendant pre-suit requirements period - begins to accrue when
      the plaintiff learns of discriminatory intent ,as opposed to the discriminatory act itself." Li v.
      Univ. ofTex. Rio Grande Valley, No. 7:15-CV- 00534,2018 WL 706472, at *5 (S.D. Tex. Feb.
      2, 2018) (citing, inter alia, Merrill v. Southern Meth. Univ., 806 F.2d 600, 605 (5th Cir. 1986)
      (limitations period begins to run when a plaintiff knows or reasonably should know that the

                                                    20
4863-9768-8217.1
    Case 4:22-cv-03340          Document 36        Filed on 12/28/23 in TXSD          Page 21 of 26




     discriminatory act has occurred, not when he or she first perceives that a discriminatory motive
     caused the act)). See, e.g., Foster v. United Rentals (North America), Inc., No. 2:16-CV-114,
     2018 WL 1474186, at *3 (S.D. Tex. March 9,2018) (applying same principle to ADEA claim).


d. ADEA claims "based on discrete acts cannot rely on a continuing violation theory." Heath v. Bd.
     of Supervisors for Southern Univ. and Agricultural and Mech. College, 850 F.3d 731, 741-742
     (5th Cir. 2017) (citing Nat'l RR. Passenger Corp. v. Morgan, 536 U.S. 105, 113 (2004)).
     See, e.g. Simmons-Myers v. Caesars Ent. Corp., 515 F. App'x 269, 273 (5th Cir. 2013)
     ("discrete discriminatory acts are not entitled to the shelter of the continuing violation
     doctrine").


e. Under the ADEA, "multiple discrete acts of discrimination during" an employee's tenure do
     not collectively constitute "one 'unlawful employment practice.'" Lucenio v. Houston I.S.D.,
     No. 4:21-cv-00650,2022 WL 658838, at *12 (S.D. Tex. Feb. 16, 2022) (quoting Morgan, 536
     U.S. at 117)).


f. "Equitable tolling applies to statutes of limitations because the statute of limitations' encourages
     the plaintiff to pursue his rights diligently' and does not have its purpose furthered 'when an
     extraordinary circumstance prevents [a plaintiff] from bringing a timely action.'" Middaugh v.
     InterBank, 528 F. Supp. 3d 509, 527 (N.D. Tex. 2021) (quoting CTS Corp. v. Waldburger, 573
     U.S. 1,10 (2014)). "Therefore, the discovery rule does not apply unless 'the nature of the injury
     incurred is inherently undiscoverable.'" Id. (quoting Beavers v. Metro. Life Ins. Co., 566 F.3d
     436, 439 (5th Cir. 2009)).

g. "Equitable tolling is to be applied sparingly." Manning v. Chevron Chem. Co., LLC, 332 F.3d
      874, 880 (5th Cir. 2003) (quoting Nat'l RR Passenger Corp. v. Morgan, 536 U.S. 101, 113
      (2002)).

h. "[E]quitable tolling might apply due to fraudulent concealment where 'the defendants
     concealed the conduct complained of, and ... the plaintiff failed, despite the exercise of due
      diligence on his part, to discover the facts that form the basis of his claim.'" Id. (quoting Texas
     v. Allan Const. Co., Inc., 851 F.2d 1526, 1528 (5th Cir. 1988)) (alterations original).


i. The Lilly Ledbetter Fair Pay Act of 2009 redefined "occurrence" for the ADEA to say that"an
      unlawful employment practice occurs, with respect to discrimination in compensation ... when
      a person is affected by application of a discriminatory compensation decision or other practice,
      including each time wages, benefits, or other compensation is paid, resulting in whole or in
      part from such a decision or other practice." 29 U.S.C. § 626(d)(3).


j. The Code provides that "a person claiming to be aggrieved by an unlawful employment
      practice . . . may file a complaint with" the Texas Workforce Commission—Civil Rights
      Division." Tex. Lab. Code § 21.201. With the exception of sexual harassment complaints, "a
      complaint under this subchapter must be filed not later than the 180th day after the date the
      alleged unlawful employment practice occurred." Id. § 21.202(a). "The commission shall
      dismiss an untimely complaint." Id. § 21.202(b). The charging party becomes entitled to a


                                                    21
4863-9768-8217.1
    Case 4:22-cv-03340          Document 36        Filed on 12/28/23 in TXSD          Page 22 of 26




     "notice of right to file a civil action" 180 days after filing a complaint, and must file that civil
     action (a) within 60 days of receiving the notice of rights letter and (b) within two years of
     filing the complaint. Id. §§ 21.252, 21.254, 21.256.


k. Under Texas law, the 180-day limitations period "begins to run when the employee is informed
     of the allegedly discriminatory employment decision." Ajayi v. Walgreen Co., 562 F. App'x
     243,246 (5th Cir. 2014) (citing Specialty Retailers, Inc. v. DeMoranville, 933 S.W.2d 490,493
     (Tex. 1996)). Just as it is "well established in this circuit that in age discrimination cases the
     limitations period begins to run when the plaintiff knows of the discriminatory act, not when
     he first perceives the discriminatory motive . . . Texas courts of appeals have adopted this
     position." Ajayi, 562 F. App'x at 246 (citing Ogletree v. Glen Rose Indep. Sch. Dist., 314
     S.W.3d 450, 455 (Tex. App.—Waco 2010, pet. denied); Acosta v. Memorial Hermann Hosp.
     Sys., No. 14-07-00001-CV, 2008 WL 198852, at *4 (Tex. App—Houston [14th Dist] Jan. 22,
     2008, pet. denied); Abbott v. Rankin, No. 06-07-00149-CV, 2008 WL 5156453, at *3 (Tex.
     App—Texarkana Dec. 10,2008, pet. denied)).


1. The Texas Labor Code does not have an expanded definition of "occurrence" for compensation
     discrimination claims. Indeed, the Texas Labor Code does not define "occurrence" at all.
     Prairie View A & M Univ. v. Chatha, 381 S.W.3d 500, 506-507 (Tex. 2012). Case law
     provides that an "occurrence" happens, and the limitations period begins to run, when the
     employee is informed of the allegedly discriminatory employment decision. Id. (citing
     Specialty Retailers, Inc. v. DeMoranville, 933 S.W.2d490, 493 (Tex. 1996)).


m. "The 180-day limitations period for an employment discrimination complaint begins when the
     employee is informed of the allegedly discriminatory decision, not when that decision comes to
     fruition. The date of the discriminatory act controls, not some later date when the employee
      discovers that the act is discriminatory" Abbott v. Rankin, No. 06-07-00149-CV, 2008 WL
      5156453, at *3 (Tex. App.— Texarkana Dec. 10, 2008, pet. denied) (citations omitted). See,
     e.g., Gilles- Gonzalezv. Univ. ofTex. Sw. Med. Qr.,No. 05-16-00078-CV, 2016 WL 3971411,
      at *4 (Tex. App.—Dallas July 22, 2016, no pet.) ("limitations period begins to run on the date
     the discriminatory act occurred, not on the date the victim first perceives that a discriminatory
     motive caused the act") (citing Merrill, 806 F.2d at 605); Ogletree v. Glen Rose I. S. D., 314
      S.W.3d 450,455 (Tex. App.—Waco 2010, pet. denied) (relying on Merrill and holding that the
      statute of limitations for employment discrimination claims runs from the date of occurrence,
     not the date of discovery of discriminatory intent).


n. An aggrieved party must file a charge of discrimination with the Texas Workforce Commission,
      and by law, "the commission shall dismiss an untimely complaint." Id. This 180-day filing
      deadline, while not jurisdictional, is "mandatory." Hinkley v. Envoy Air, Inc., 968 F.3d 544,
      553 (5th Cir. 2020). Failure to timely satisfy the administrative-exhaustion requirement bars
      recovery and warrants dismissal of any civil action not preceded by a timely written complaint.
      Id. at 552,555.


o. Under Texas law, the "continuing violation doctrine applies when an unlawful employment
      practice manifests itself over time, rather than as a series of discrete acts." Davis v. Autonation


                                                    22
4863-9768-8217.1
    Case 4:22-cv-03340           Document 36       Filed on 12/28/23 in TXSD           Page 23 of 26




     USA Corp., 226 S.W.3d 487, 493 (Tex. App—Houston [1st Dist] 2006, no pet.). In some
     instances, "equitable considerations may require that the filing period not begin until acts
     supportive of a civil rights action are, or should be, apparent to a reasonably prudent person in
     the same or a similar position." Id. (quoting Wal-Mart Stores v. Davis, 979 S.W.2d 30, 31 (Tex.
     App.— Austin 1998, pet. denied)). The "touchstone" in determining whether to apply the
     continuing violation doctrine is "whether [the] employee was put on notice that his rights had
     been violated." Id. (citing Hackabay v. Moore, 142 F.3d 233, 239 (5th Cir. 1998)). See White
     v. United Parcel Serv., Inc., No. H-20-2813, 2021 WL 4941998, at *7 (S.D. Tex. Oct. 22,2021)
     (citing and applying Davis).

p. When sitting in diversity (as the Court is for purposes of Drew's Texas Labor Code claim),
     "federal courts must abide by a state's tolling rules, which are integrally related to statutes of
     limitations." Labaty v. UWT, Inc., 121 F. Supp. 3d 721, 742- 743 (W.D. Tex. 2015) (quoting
     Albano v. Shea Homes Ltd. P 'ship, 634 F.3d 524, 530 (9th Cir. 2011)).

q. Under Texas law, "equitable tolling is a 'sparingly' used doctrine." Handv. Stevens Transp., Inc.
     Employee Benefit Plan, 83 S.W.3d 286, 293 (Tex. App—Dallas 2002, no pet.) (quoting Irwin
     v. Dep't of Veterans Avairs, 498 U.S. 89, 96 (1990)). For example, "courts will apply the
     equitable tolling doctrine in misidentification cases where applying the statute of limitations
     would not serve its legitimate purpose." Torres v. Johnson, 91 S.W.3d 905, 909 (Tex. App.-
     Fort Worth 2002, no pet.).


r. The "purpose of statutes of limitations is to compel the assertion of claims within a reasonable
     period so that the opposite party has a fair opportunity to defend while witnesses are available
     and the evidence if fresh in their minds." Id. at 908 (citing Computer Assocs. Int'l, Inc. v. Altai,
      Inc., 918 S.W.2d 453, 455 (Tex. 1996)).


s. In Texas, "the discovery rule" may delay accrual or toll limitations, and applies "on a categorical
     basis to injuries that are both inherently undiscoverable and objectively verifiable." Valdez v.
      Hollenbeck, 465 S.W.3d 217, 229 (Tex. 2015). Similar to federal precedent, "fraudulent
      concealment is a fact-specific equitable doctrine that tolls limitations until the fraud is
      discovered or could have been discovered with reasonable diligence." Id. at 229 (citing Shell
      Oil Co. v. Ross, 356 S.W.3d 924, 927 (Tex. 2011)).


t. "The estoppel effect of fraudulent concealment ends when a party learns of facts, conditions,
      or circumstances which would cause a reasonably prudent person to make inquiry which, if
     pursued, would lead to the discovery of the concealed cause of action." Borderlon v. Peck, 661
      S.W.2d 907, 909 (Tex. 1982). "Knowledge of such facts is in law equivalent to knowledge of
     the cause of action." Id.


u. The Texas Supreme Court has made clear that the Lilly Ledbetter Fair Pay Act is not
      incorporated by reference into the Texas Labor Code. Prairie View A&M Univ. v. Chatha, 3 81
      S.W.3d 500, 507-508 (Tex. 2012) (explaining, in the specific context of the Ledbetter Act, that
      the "general purposes provision" of the Texas Commission on Human Rights Act, which states
      that one of the purposes of the TCHRA is to provide for the "execution of the policies of Title


                                                    23
4863-9768-8217.1
    Case 4:22-cv-03340          Document 36        Filed on 12/28/23 in TXSD          Page 24 of 26




     VII. .. and its subsequent amendments" does not mean that all amendments are automatically
     incorporated into the TCHRA). See, e.g., Blasingame v. Eli Lilly and Co., No. H- 11-4522,
     2013 WL 5705234, at *5 (S.D. Tex. Oct. 18, 2013) (citing Chatha and holding that the Lilly
     Ledbetter Fair Pay Act "does not act to extend the time for filing claims under the TCHRA").


v. Under the Texas Labor Code, "in a complaint in which the complainant proves a violation
     under Subsection (a)," i.e., proves that age or another impermissible consideration was
     motivating factor for an employment practice, "and a respondent demonstrates that the
     respondent would have taken the same action in the absence of the impermissible motivating
     factor, the court may grant declaratory relief, injunctive relief except as otherwise provided by
     this subsection, and attorney's fees and costs demonstrated to be directly attributable only to
     the pursuit of a complaint under Subsection (a), but may not award damages or issue an order
     requiring an admission, reinstatement, hiring, promotion, or back pay." Tex. Lab. Code §
     21.215 (b) (emphasis added).

w. The Texas Labor Code specifically authorizes awards of attorneys' fees: "in a proceeding
     under this chapter, a court may allow a prevailing party, other than [the Texas Workforce
     Commission], a reasonable attorney fee as part of the costs." Tex. Lab. Code § 21.259(a).


10. Exhibits


     A. On a separate form similar to the one provided by the Clerk, each party has attached four
lists of all exhibits expected to be offered and will make the exhibits available for examination by
opposing counsel. All documentary exhibits must be exchanged before trial, except for rebuttal
exhibits or those whose use cannot be anticipated.


           Four Copies ofPIaintifPs Exhibit List are attached as Exhibit 1.

           Four Copies of Defendant's Exhibit List are Attached to its Proposed Pretrial Order
           as Exhibit A.

     B. The Parties acknowledge that each party requiring authentication of an exhibit must notify
 the offering counsel in writing within five days after the exhibit is listed and made available; failure
 to object in writing in advance of the trial concedes authenticity.


      C. Within reason, other objections to admissibility of exhibits must be made at least three
 business days before trial; the Court will be notified in writing of disputes, with copies of the
 disputed exhibit and authority.

11. Witnesses


           A. On a separate form, each party has attached four lists with the names and addresses
                   of witnesses who may be called with a brief statement of the nature of their
                   testimony.




                                                    24
4863-9768-8217.1
     Case 4:22-cv-03340             Document 36     Filed on 12/28/23 in TXSD        Page 25 of 26




                   Four Copies of Plaintiff s Witness List are Attached as Exhibit 2.


                   Four Copies of Defendant's Witness List are Attached to its Proposed Pretrial
                   Order as Exhibit B.


          B. If other witnesses to be called at the trial become known, their names, addresses,
                   and subject of their testimony will be reported to opposing counsel in writing as
                   soon as they are known; this does not apply to rebuttal or impeachment witnesses.




12. Settlements


         Counsel for the parties have exchanged settlement offers, but the parties are very far apart.


13. Trial


         The parties anticipate that trial will take two to three days and do not foresee any
 logistical problems of the type mentioned in the Court's template joint pretrial order.


14. Attachments


         Plaintiffs proposed findings of fact are attached in duplicate as Exhibit 3 and have also been
         filed separately.


         Plaintiffs proposed conclusions of law with authority are attached in duplicate as Exhibit 4
         and have also been filed separately.



         Defendant's proposed findings of fact are attached in duplicate as Exhibit C to its Proposed
         Pretrial Order and have also been filed separately.


         Defendant's proposed conclusions of law with authority are attached in duplicate as Exhibit
         D to its Proposed Pretrial Order and have also been filed separately.


 Approve^
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                                                                  Date DttnMm a< tl(Al
                             large. Plaintiff



                                                                  Date:
           Attorney-in-Charge, Defendant



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4863-9768-8217.1
     Case 4:22-cv-03340       Document 36      Filed on 12/28/23 in TXSD          Page 26 of 26




                                                     Respectfully submitted,




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                                                     ATTORNEYS FOR PLAINTIFF
                                                     JOHN DREW




                                   CERTIFICATE OF SERVICE

         I hereby certify that on the At' Hay of December 2023, a copy of the foregoing document




                                                                    DIAL
                                                                   sy^
was served on counsel of record by the Court's electrg^3|filing sysl




                                                     Jay A




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4863-9768-8217.1
